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                          EXHIBIT E
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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA



    TELCOM VENTURES LLC,

            Plaintiff,
                                                                Case No. 1:24-cv-23837-JEM
    v.

    APPLE, INC.,                                                JURY TRIAL DEMANDED
            Defendant.




     DECLARATION OF PETER KARABINIS IN SUPPORT OF PLAINTIFF TELCOM
          VENTURES LLC’S OPPOSITION TO DEFENDANT APPLE INC.’S
                      MOTION TO TRANSFER VENUE

           I, Peter Karabinis, hereby declare:

           1.      I am over 18 years of age and competent to make this declaration. The statements

   in this declaration are based upon my personal knowledge. If called to testify as a witness in this

   matter, I could and would testify competently and truthfully to each statement in this declaration

   under oath.

           2.      I am aware that Telcom Ventures LLC has filed a patent infringement lawsuit

   against Apple Inc. in Telcom Ventures’ home district—the U.S. District Court for the Southern

   District of Florida.

           3.      I understand that Apple has filed a motion seeking to transfer this case across the

   country to Northern California. I provide this declaration in support of Telcom Venture LLC’s

   Opposition to Apple’s Motion to Transfer Venue.




                                                    1
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          4.      I am currently the Chief Technology Officer at Odyssey Wireless, Inc. and ENK

   Wireless, Inc. in Cary, North Carolina.

          5.      I am the first-named inventor on each of the patents that are asserted by Telcom

   Ventures against Apple in this lawsuit, and I am knowledgeable about the subject matter of those

   patents, which relate generally to systems and methods for mobile device mode enablement

   responsive to a proximity criterion or to sensing a physiological parameter, and to using such

   capabilities in executing financial transactions by a smartphone.

          6.      I am knowledgeable about the development and prosecution of the patents, the

   inventions covered by the patents, certain cited prior art, and matters relating to inventorship and

   patentability. I also have knowledge about the named plaintiff and owner/assignee of the patents,

   Telcom Ventures LLC.

          7.      I currently live in Cary, North Carolina, and my documents relating to the patents

   and this lawsuit are located in Cary, North Carolina.

          8.      I am committed to testifying at trial in the Southern District of Florida.

          9.      Traveling to Miami would be much more convenient for me. Raleigh-Durham

   International Airport is the closest airport to me. A flight from Raleigh to Miami is about two hours

   and fifteen minutes and within the same time zone. By comparison, a flight from Raleigh to

   Northern California is nearly six hours and crosses three time zones. Traveling across the country

   to Northern California would require a greater time commitment and would increase the chance of

   scheduling conflicts. Also, I would be much more fatigued traveling across the country through

   several time zones. I most likely would need to budget an additional day of travel to be ready to

   testify at trial if it were held in Northern California. If this case proceeds to trial in Miami, by

   comparison, it would be much easier for me to travel and testify.




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          I declare under penalty of perjury that the foregoing is true and correct and that this

   declaration was executed this ___ day of May 2025, in _______________.


                                                              ________________________________

                                                             Peter Karabinis




                                                    3
